

Mongielo v Mongielo (2018 NY Slip Op 04200)





Mongielo v Mongielo


2018 NY Slip Op 04200


Decided on June 8, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


678 CA 17-01886

[*1]SUSAN D. MONGIELO, PLAINTIFF-RESPONDENT,
vDAVID J. MONGIELO, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






JAMES OSTROWSKI, BUFFALO, FOR DEFENDANT-APPELLANT. 
HOGANWILLIG, PLLC, AMHERST (DIANE R. TIVERON OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Niagara County (Daniel Furlong, J.), entered July 31, 2017. The order awarded a money judgment to HoganWillig, PLLC, in the amount of $31,852.64. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: June 8, 2018
Mark W. Bennett
Clerk of the Court








